Case 2:24-cv-00228-Z        Document 109       Filed 06/13/25      Page 1 of 3     PageID 52078




                            IN THE UNITED STATES OF AMERICA
                              NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

Carmen Purl, M.D.; and Carmen Purl,
M.D., PLLC d/b/a Dr. Purl’s Fast Care
Walk In Clinic,

              Plaintiffs,
       v.
                                           Civil Action No. 2:24-cv-00228-Z
United States Department of Health and
Human Services; Xavier Becerra, in his     NOTICE OF APPEAL
official capacity as Secretary of the
United States Department of Health and
Human Services; Office for Civil Rights
of the United States Department of
Health and Human Services; and Melanie
Fontes Rainer, in her official capacity as
Director of the Office for Civil Rights of
the United States Department of Health
and Human Services,

              Defendants,

              and
City of Columbus, Ohio; City of
Madison, Wisconsin; and Doctors for
America,

              Proposed Intervenor-
              Defendants.



              NOTICE is hereby given that Proposed Intervenor-Defendants, City of Columbus,

Ohio, City of Madison, Wisconsin, and Doctors for America, appeal to the United States Court of

Appeals for the Fifth Circuit from each and every part of the Attached Order of the Honorable

Matthew J. Kacsmaryk, entered on April 15, 2025, denying Proposed Intervenor-Defendants’

Motion to Intervene (ECF No. 103) (Exhibit A).
Case 2:24-cv-00228-Z       Document 109       Filed 06/13/25   Page 2 of 3    PageID 52079



Date: June 13, 2025                              Respectfully submitted,

                                                 /s/ Shannon R. Selden

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Case 2:24-cv-00228-Z       Document 109        Filed 06/13/25      Page 3 of 3     PageID 52080




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2025, a copy of the foregoing was filed electronically via

the Court’s ECF system, which effects service upon counsel of record.

                                                   /s/ Shannon R. Selden
                                                   Shannon Rose Selden
